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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,
                              Plaintiffs,
                                                  Case No. 1:20-cv-03010-APM
        v.
                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,
                              Defendant.


               NONPARTY OPENAI, INC.’S MOTION FOR ADMISSION
                      PRO HAC VICE OF ASHOK RAMANI

       Pursuant to Local Civil Rule 83.2(c) of the Rules of the United States District Court for

the District of Columbia, the undersigned as a sponsoring member of the bar of this Court

respectfully moves for admission and appearance of attorney Ashok Ramani pro hac vice in the

above-captioned matter as counsel for Nonparty OpenAI, Inc.

       This motion is supported by the Declaration of Ashok Ramani, filed herewith. As set

forth in Mr. Ramani’s Declaration, he is admitted and a member in good standing of the Bar of

the State of California. This motion is supported and signed by Howard Shelanski, an active and

sponsoring member of the Bar of this Court.

 Date: December 11, 2024                          Respectfully submitted,

                                                  /s/ Howard Shelanski
                                                  Howard Shelanski (Bar No. 452476)
                                                  DAVIS POLK & WARDWELL LLP
                                                  901 15th Street, NW
                                                  Washington, DC 20005

                                                  Counsel for OpenAI, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2024, the foregoing document was electronically

submitted with the Clerk of the Court for the United States District Court, District of Columbia,

using the electronic case file system of the Court. The electronic case file system sent a “Notice

of Electronic Filing” to all counsel of record.

                                                  /s/ Howard Shelanski
                                                  Howard Shelanski (Bar No. 452476)
